Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 1 of 26

‘

NOTICE OF AND RESCISSION OF MOTION TO ANSWER A CERTIFIED
QUESTION OF LAW RELATED TO JURISDICTION IN THIS CASE, AND
AN OFFER OF PROOF FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 1 of
25 No. 10-cr-00317-REB-2 MOTION TO ANSWER A CERTIFIED QUESTION OF LAW RELATED TO
JURISDICTION IN THIS CASE, AND AN OFFER OF PROOF, Page 2 of 25 2, Page 3 of 25 3, Page

4 of 25 4, Page 5 of 25 5, Page 6 of 25 6, Page 7 of 25 7, Page 8 of 25 8, Page 9 of 25
9, Page 10 of 25 10, Page 11 of 25 11, Page 12 Richard Kellogg Armstrong, pro se, 12,
Page 13 16th day of NOVEMBER, 2011 Richard Kellogg Armstrong, 13, Page 14 of 25 14, Page
15 of 25 15, Page 16 of 25 16, Page 17 of 25 17, Page 18 of 25 18, Page 19 of 25 18,

Page 20 of 25 20, Page 21 of 25 21, Page 22 of 25 22, Page 23 of 25 23, Page 24 of 25 24,
Page 25 of 25"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "supra" including every copy bearing
my signature and date, for cause. I made a mistake creating, signing and presenting

the MOTION TO ANSWER CERTIFIED QUESTION OF LAW RELATED TO JURISDICTION IN THIS CASE, AND
AN OFFER OF PROOF. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act and
deed.

Luny son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", ?"You
are snared by the words of you mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your frjend; go humble yourself; plead with your friend."

"Give no sleep to your eyes, nor slumber to your eyelids." ~"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler.”

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

FILED

UNITED STATES DISTRICT COURT Sincerely
RADO ”
DENVER, COLO! ey At Li Lille S56 } PE
JAN 1 q 2014 Richard Kellogg Armstrong
c/o 20413-298
JEFFREY P. COLWELL Federal Correctional
CLERK Institution - Lompoc

3600 Guard Road
Lompoc, California

re tak 2) ar zene TE TE

 

Footnotes: loroverbs 6:1, ?Proverbs 6:2, 3Proverbs 6:3, 4proverbs 6:4, 5Proverbs 6:5
Attachment: “supra"

cc: UNITED STATES DISTRICT COURT 901 19th Street Denver, Colorado 80294
cc: Honorable Robert Blackburn, Judge, United States District Court 901 19th Street Denver, Colorado 80294

Page 1 of 2
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 2 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 1 of 25

ier

UNITED STATES DISTRICT COURT 2!522.00 OT,
FOR THE DISTRICT OF COLORADO ;,,,,...,
DENVER DIVISION UY 18 foe: &6

GRESt. bolts SAH
UNITED STATES OF AMERICA, §
: BY pee CLK
’ aintiff

you KELLOGG ARMSTRONG

= Defendant RK
\
OTION TO ANSWER A CERTIFIED.QUESTION OF LAW RELATED TO
K JURISDICTION IN THIS CASBAND AN OFFER OF PROOF V\
‘ Comes now, Richard Kellogg Armstr Petitioner, unrepresented, and mo
e court to issue a show cause order for the Ande General of the United States
reme authority related to federal law in the States’, or his designated

\e
\\
NQbesentatve in the District of Colorado, ot Division, in the case of United WN

Armstrong, Case No. 10-cr-00317-REB-2, to Ne a certified question of law “T\
YY court’s jurisdiction to prosecute patna
~ A. intrityeton XN

A federal judge is bound by his oath to pho, the Constitution of the United Y
4
\,

States, understanding that the United States of

S would reign in the United States. Ther

     

ON] 0-cr-00317-REB-2

 

ica is anation of law. Without la

    
  

e court has a duty to insure
wt’ uestion of jurisdiction is answered, see Car. n Bond v. United States, no. 09-

yj (any statute repugnant to the Consti tion iswoidy” and if no jurisdiction exists, the
e

 

' Under the Supremacy Doctrine, the attorney general is also the Supreme Authority for state law.
? The vote in Bond was 9-0, and the court reaffirmed its litany of Supreme Court jurisdictional cases. The
Supreme Court has repeatedly warned the lower courts not to attempt to overturn its decisions.
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 3 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 2 of 25

government is bound to issue an admission declaring Public Law 80-772 void,’ answer

the following certified question of law within fourteen (14) days and put their stamp and
gov seal on the answer.
) It should be noted, that all governmen’ jals are required to take an Ogtlmto
@ the Constitution, and as a part of atime ce, have also taken an oatto

ld the integrity of the legal system of een Without a legal sys ah

try would revert to chaos.

United States Attorney is the representative not of an ordinary party a
XQ controversy, but of a sovereignty whose obligathn to govern impartially is as moe)
as its obligation to govern at all; and whose interest therefore, in a criminal proses Rae

that it shall win a case, but that justice done. As such, he is ina AP\

mo

ery definite sense the servant of the | mR twofold aim of which is that gui s
~ not escape or innocence suffer. He may prosecute with earnestness and vigor - indeed, he
ddo so. But, while he may strike woe is not at liberty to strike foul ~
as much his duty to refrain from improper Nei calculated to produce a oon

y

‘\

     
 
   
 

iction as it is to use every legitimate means\to bring about a just one.”

rv. U.S., 295 U.S. 78, 88 (1935)

“Al attorney, it was my mandate to fight ag;

t authority when it was overbearing
busive, or unjust, but also to respect and belts in the system. When I challenged the

pee
/ s it was not from disrespect; rather, it was the ultimate form of respect. I understood
e

 

3 Failure for the US attorney to admit the clear evidence that the statute is invalid would constitute lack of
candor to the court and would be a violation of the rules for US prosecutors and the Citizens Protection Act
of 1998.
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 4 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 3 of 25

then, as I do today, that absent challenge, authority becomes totalitarian. Authority needs

to be challenged if we are to ensure the integrity of the process. It is one of the great

ge Harold J. Rothwax
B. Offer f Q
Defendant has witnesses, evidence, and testimony in an offer of proof i e
‘ 1940)deprived the district wT (
‘eS tion over any alleged crimes other than Titfe 18 crimes, and deprived the is
co f jurisdiction over Title 18 crimes after 19 e to the Fair Warning “T\

*
evidencing the essential L\

ng taust be totally stricken froMinghe

 

s void, ab initio, and that 18 USC § 5

 
  
   
  
    
    
   
 

SS court cannot refuse an offer of proof.
‘Neill be plain and clear that the case against Arms

reid.

48 US 649 (1892), the enrolled \
nt of the Senate sign the bill into

not in “open session” as it was \

f the Senate on June 23, 1948, after

TY presents the following offer of proof: \
e first point is that Marshall Field & Co.
ar that the Speaker of the House and Pr
lav@in “open session”. The bill was signed into |
signed by the Speaker of the House and Preside

Congress was completely and fully adjourned sine die on June 20, 1948, and was not in

open session. Further, Field v. Clark was overturned by Clinton v. New York, 524 US
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 5 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 4 of 25

417 (1998) and US v. Munos-Flores, 495 US 385 (1990). See FN 4 of Munos-Flores

(Munos-Flores and Clinton together overturned Marshall Field on Field’s own facts and

 

_ thdreby limited is application to errors not of Constitutional magnitude).

    
    

y C. rolling Authority
icle I, Section V, Clause I of the Caps i

of ctions, Returns and Qualifications ‘ts own Members, and a Majori

   
  
 

ion: “Each House shall

titute a Quorum to do Business; but Wsmailes Number may adjourn frdn"day{to

  
  
  
 

y be authorized to compel the Att ce of absent Members, in su

provide.” The Court shoul e

ise I of the Constitution. ( \

Ngo Ann Bond v. United States, 09-123¢Ni16/11, in which the Supreme COR
in ®.. reaffirmed its prior rulings ide challenge to jurisdiction and vA
‘we

that agy statute that is repugnant to the Constitu jon is void. The Court should take

d under such Penalties as each House

   
  
 

ry judicial notice of Article I, Section

 
   
  
 
  
  
 
 

m: ry judicial notice of Carol Ann Bondy

id sie The lower courts A/\

repe. been warned not to overturn Suprem@Court precedent.

~.. issues arise as to jurisdiction or v
civil edure (rules 26-27) is available to ascer
cml Fund, Inc. v. Sanders, 437 U.S. 3

oh The Court should take m
Tne. > Sarters.
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 6 of 26

Case 4:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 5 of 25

The Congressional Records of the 80 Congress, which establishes that no
quorum was present on May 12, 1947 when the House “voted” on Public Law 80-772

orum was in place on June 23, 1948 when the Speaker of the House and the

Dye pro tempore of the Senate “signed” Public Law 80-772. The court should take
mandatory judicial notice of the records of the Congress.

& The exhibits attached hereto, which ee authenting as government

or \ Y

‘ 1. The letter from Jeff Trandahl, Cle of the House dated June 28, 2000, ( \\

= voted on by Congress in June of 1948)
~

addressed to Charles R. Degan, in which\frandah! stated that Title 18 was no

xhibit A. Since the document is V\
self-authenticating, the court mask judicial notice of the document. \/\

2. The letter from Karen L. Haas, Clerk of the House dated September 11, 2008 XQ

x Exhibit B, in which she stated: “Afi ducting a thorough examination of YQ
wthe j .

 
 

   
  

concurrence. The Senate took hg astion dp the H.R. 3190 bill prior to the
December 19, 1947 sine die adjournment....” Since the document is self-

authenticating, the Court should take mandatory judicial notice of the
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 7 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 6 of 25

document.

The letter from Nancy Erickson, Secr

    
   

to the Senate, to Mr. Wayne

Matthews, Exhibit C, in which she stated: ked the Senate Historian’s

\

office to review the correspondence you’

verify that no action was taken by the sre H.R. 3190 prior to the \
\
December 19, 1947 sine die sour I have enclosed relevant pages V\

Dd ;
YK from the House journal and Congres for your reference.” Since ,
— the document is self-authenticating, the Court should take mandatory waci
notice of the document. \
& 4,
~
/ny

closed} and they were able to

 
    
  

A letter dated August 24, 2010 form the

Exhibit D, in which it stated: “Our of conducted research of the

\
of the Clerk of the House, V\

House Journal and the Congressional RYO in regards to HR 3190 and the

researching these official Q

ietive we have been unable to find

   
 

voice vote that was taken on May 1
proceedings of the US House of Represe:
the names of the 44 Members who responded to the voice vote. We have

included pages from the House Journal an Congressional Re cord that

shows the proceedings of that day as far af thefquorum is concerned....”. \

Since the document is self-authenticating, the/Court should take mandatory

judicial notice of this portion of inelosadat!

 

‘ Miller makes one significant error in her letter, when she states that “HR 3190 was passed by the House
and Senate on June 18, 1948 and became Public Law 80-772 on June 25, 1948.” Miller cites no evidence
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 8 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 7 of 25

5. An internal memorandum to staff by Harley G. Lappin, Director of the
Federal Bureau of Prisons, dated July 27, 2009 at 3:17 PM, Exhibit E, which
states: Attention all Department Heads, there has been a large volume o

inmate Requests for Administrativ edies questioning the validity of

    

Bureau’s authority to hold or classi mNander 18 U.S.C. §§4081, et. se

(1948). On the claim that Public L 0-73 $ never passed or signed in he \
presence of a Quorum or Majority ee ouses of Congress as required \
Article I, §5, Clause 1 of the Consti Pion. Although most courts have, thus

far, relied on Field v. Clark, 143 U.S. 892) to avoid ruling on the merit

of these claims, however the have eon Some which have stated that they AY
not bound by the Field case, but those s Wid not involve any Quorum “ees
Clause challenge. So out of an abund, caution, I contacted the Office VW

Legal Counsel, the National Archive: e Clerk of the House of

x

Representatives to learn that there is n¢Tecagd of any quorum being present
during the May 12, 1947 vote on the Hi Bill in the House (See 93

Cong.Rec. 5049) and the record is not Qear as to whether there was any XQ

Senate vote on the H.R. 3190 Bill duringjaty session of the 80" Congress. Y

=> 102 W ABUWY, [~

There is only one Supreme Court case in order for any bill to be
valid the Journals of both Houses must s that it was passed in the presence

of a Quorum. See United States \ pati oseph & Co., 144 US. 1, 3 (1892). XY

The Clerk of the House states that the May 12, 1947 vote was a ‘voice vote’,

a

 

for her statement. As Exhibit A, the letter from Jeff Trandahl, clerk of the House states, “Congress was in
session on June 1, 3, 4, 7-12, and 14-19, 1948, however Title 18 was not voted on at this time.”
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 9 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 8 of 25

but the Parliamentarian of the House states that a Voice vote is only valid
when the Journal shows that a quorum is present and that it’s unlawful for the
Speaker of the House to sign any enrolled bill in the absence of a quorum. On
May 12, 1947, a presence of 218 Members in the hall of the House

required to be entered on the Journ order for the 44 Member 38 to 6fo0

vote to be legal. It appears that the 1909\vetsjon of the Federal Crimi
SN
has never been repealed. ora our only true authority is fs
a

derived from the 1948 predecessor toRublic aw 80-772. “Although (/\
adjudication of the constitutionality fn enactments has gen@flly

been thought to be beyond the jurisdictiomeffederal administrative agendje

this rule is not mandatory,” according t Supreme Court in the case NX
Thunder Basin Coal Co. v. Reich, 510 . 3Q0, 215 (1994). Therefore, te
Bureau under the advise of the Legal C feels that it is in the best intWfest

ry\)
of public safety to continue addressifg ato these Administrative Remed:

>.

Requests by stating that only the Condbess or the courts can repeal or declare a

 

federal statute unconstitutional.” \Sinc iene is self-authenticating,
. \

the Court should take mandatory judidial notice of this document.

O/:

D. Fair Warning DoctrinePrevents Prior Jurisdiction

  
   

2 toe "hl “Oday

The Fair Warning Doctrine, which preven’ district court from

planned conduct is criminal. United States v. Nevers, 7 F.3d 59 (5" Cir. 1993). See
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 10 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 9 of 25

United States ex. Rel. Clark v. Anderson, 502 F.2d 1080(3d Cir. 1974)(The notice

  
 

S was overly vague, to apply that statute’s superseding predecessor statute in the

ase which ruled the successor statute ynconstitutional).
> In United States ex. Rel. Clark v. Andexsony502 F.2d 1080(3d Cir. 1974), 40:
80, 1081-1082, the court found that ane ime the offense occurred and (

nO actuged was indicted, “the state of Delaware ublishéd and was holding out the new

] as its only proscription of such misconduct e indictment charged.” \

\
was also not a crime at common law. The\c ruled the new statute ‘
e

itutional. And by definition, an unconstitutional statute is one that fails to

  
   
  

>
fair notice that particular conduct is proscribed by the state. See United States v. nee
PoNiig 1954, 347 U.S. 612, 617, 98 L.Ed. 989, 74§-Ct. 808; Connally v. General \\
MSction Co., 1926, 269 U.S. 385, 391, 70 tae’

. 322, 46 S.Ct. 126. Thus, the s
ww
own interpretation of the new statute and its rej f that section as a statutory
. (\
fo k’s prosecution caused the court to hota Ysat the new statute did not provide
«’ tionally adequate notice. NX \
e Clark court determined that defen dant‘s conviction could be upheld omy

if the old statute, the supercession of which had € islatively declared and EN

alfced, could continue to serve as notice of the criminality of defendant’s conduct.

 
  

     
  

Ty to reach that conclusion the court decide t one would have to reason, first
fi.

ew statute on its face gave adequate no its own invalidity, and second,

that the public, thus informed, was then put on r notice that the officially announced

statutory repeal or supercession of the old stattitg was legally ineffective. Id.
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 11 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 10 of 25

The court concluded that such reasoning was “too tortured and too far removed”

to satisfy the due process requirement that, at the time of the alleged offense,

e accused shall have been on notice that his conduct was proscribed by the criminal

The court could not even surmount the first hurdle that the new statute could serve

ice, no occasion was available to

 
 
  
 

notice of its own invalidty. Without that

   
 
 

old statute as possibly relevant.

dents, to meet Due Proce;

\,
YN
‘ As in the Clark case, and its Supreme Gaur Pp

lic Law 80-772 and 18 U.S.C. § 3231 would\f e had to give adequate public nl

Ry faces of their own invalidity and the put would have to have been put o
4
er notice that the officially announced sages or supercession of the o

tutes was legally effective. The court can noteven reach the first hurdle, much le\s the

Ngggond one. The court obtained its jurisdiction t secute crimes pursuant to 18 U.5.

NO Without proper notice of the invalidity statute, defendant’s indictment\yfd

‘we, conviction can not be upheld and the court h ne choice, to order dismissal o

defendant’s indictment and conviction ab init \

According to standing precedent, this court had absolutely no jurisdiction to \
ot prior enactment. On June YN

Rw 80-773 enacting into positive law

 
  
 
 
 

\aprosecute Defendant under either 18 U.S.C. §

8, President Truman signed into law Public

re repealed the former criminal jurisdictio
« et seq., 62 Stat. 991 et seq. (positive repe¢

IK repealed statutes). The court should ta

octrine.
e

10
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 12 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 11 of 25

The court should take judicial notice of Field v. Clark, 143 U.S. 649 (1892),

which invoked the enrolled bill rule. Field v. Clark is inapplicable to this issue by its
0 :

Congress in gpen session”. Field has since been overturned by the Supreme Court.

The court should take mandatory judicial notice that no court has made fin

   
  

t and conclusions of law regarding th

E. Request for C iti

The following questions should be SS and answered by the Attorney

eneral, his designated representatives os judge:

N& May 12, 1947, the House of Representa iv voted on Public Law 80-772, Title [®

=
the United States Criminal Code, by a vote of S&to 6, when 435 members were in th

125

Ss

se of Representatives. Under Article I, Section 5, Clause 1 of the Constitution, a

  

is required for any House to pass @ Dijf.\ Since no quorum was present on May

1947, and this is the only vote of the House-ef Representatives during the go"
y

 
  

Congress, does that render Public Law 80- titutional and void ab initio?

2) On June 23, 1948, in the second session 0
Arp and fully disbanded sine die on J

® President pro tempore of the Senate and the §

   
  
  

(NO

80" Congress, after Congress was
, 1948, at 7 am (a Sunday), the

er of the House of Representatives

signed Public Law 80-772 without Congress geing in session and without a quorum being

11
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 13 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 12 of 25

present. Does that violation of the quorum Clause of the Constitution, Article I, Section

5, Clause 1, on June 23, 1948, render Public Law 80-772 void ab initio?

   
    
   

by

3)Assuming Public Law 80-772 is void ab fritio, because it violated Article I, Section 5,

Clause 1, of the Constitution, can a court exey¢l isdiction under the 1940 prior

Af

Spa

codification of Title 18, which was repealed j 48?

\

\ vT
© Constitution is good law and no quorum (

4)Assuming Article I, Section 5, Clause | of
existed during the enactment of Public Law so7R in the 80" Congress, can a court
exercise jurisdiction under the 1909 statute for Ntle 18, which is in violation of the Fair

* Warning Doctrine of the United States?
~~

 

y
N

exercise jurisdiction pursuant to 18 USC seetion 231, which is part of Public Law 80-

ee 772, its only jurisdictional authorization, ok sin¢é Public Law 80-772 is unconstitutional, QQ
* are all sections of Public Law 80-772 unconstituti d void ab initio? \
\

\

(\ I, Richard Kellogg Armstrong, request that thes estions be answered, that Public Law

© _ 80-772 be declared unconstitutional, and that I be\gr red released from my illegal

/ confinement. JL Ah: LZ) ke bbe OQnicer <, frre ee,

°.
CeRTNGTER SERVICE

5)Assuming Article I, Section 5, Clause 1 en is still good law, can a “WW
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 14 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 13 of 25

On this the /477% day of wh VEME 142, 2011, a true and correct copy of the
foregoi

was sent by First Class U.S. Mail to John F. Walsh, U.S. Attorney, as opposing
S counsel in this case as is required by law.

Richard Kellogg hee, pro se

PA

etitioner/Defendant

fr? PH

fe
e

YE

SEE) A

\

    

32 fGe' ty (A
IV OSHIP
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 15 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 14 of 25

2 mee tht (YU ary [~

 

>
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 16 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 15 of 25

Jere TRANDAHL my on H-154 THe Cap;
CLERK NL y

MaatHa C, Moarison

DeruryCuerk (Bffice of the Dlerk
H_S. House of Representutibes
Washington, BO 20515-6601

June 28, 2000
Mr. Charles R. Degan ON
Mail Stop 116012076
Building Beale B 313
“1101 John Denie Road \ \

Memphis, TN 38184 \
Dear Mr, Degan:
information on Title 18.

In response to your inquiry, Congrdss Was in session on June 1, 3, 4, 7-12 and AN
1948, however, Title 18 was not voted of N thik time. As you may know, Title 18 coveragss
pages in the U.S. Code and this wording Wag developed over many years. Signed copies of

are archived at the National Archives an rds Administration and are not available to the

public. ‘

[hove that I have been of cbs to you. For future reference, most fedeai
depository libraries possess this type of iniermation. For the depository library closest to

_please consult the Goverameat Printing web site: www.gpo.gov/libraries.

   
 

Thark you for your letter request

 
   

 

With best wishes, [ am

5 incerely,

“> WO? ‘O AAI [,

JTirs

. ™
—

>
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 17 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 16 of 25

> Woe MV ONE(~

 

7
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 18 of 26
Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 17 of 25

SBANEWESBIGOY JO OSNO}{ “SN WeID
SkeH “] uaey

‘sino, AquE9uIS

 

“SuORseND INOA PAlansUE Sey UONEULON snp Bday vs
1 “O1OA sPGD ‘ZL Aeyy up 20; seuueU AUR jo proow ov punds | ‘BupOa jou jng yuesasd MAqWaY {oO KeWEU Gy *
Mout Jsnuw jeunol ayy ‘qq © SSed O73 SBjOA wNsONb e jo Aofeus @ very ss0j ues ‘samy asno} 07 Bunpuoooy

     

    

\wesesd

OU ss monk. aoa feu pus eek atn Buqunos Aq auojoueus “ZP6l ‘ZL AB WO NBLE WH pueUTe 0;

9 Bunon Giequay ph Saptolpul Yep “ssHUBUOD LAB /pIOTe} puoesaiSu07 ayy JO 6v0S Ober
2 Yt, fl LA

 

sHEUOT, INS SU] JO UOIESAS 1S} GIy WOY SAANE)—
-ugseitiey JO SENO} Grp Jo feELUNOL Sty Jo ppE-Ere tebed YBNOURe ‘tq OOLE “UH MH UO OA 2961 ‘TL ABW
up 0 oshoyy ety JO PRUNNO| BY) Ly AqUE OU PUNO) | *s}~RUUNO| eUy Jo LOHEURUEXE yHnowOL) e HugoNpUOD Jeyy

“WOID SU 10 CAYO 01 BupDEILOD say NOA YUE
9002 '} + eqQuIe\des

TOSS-STSOz Dee “oGjex ge
seyleprassateyy JO seNOPE “SEE
yaayp aly 30 3153@

AN vAly J%, 2012 C14.
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 19 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 18 of 25

om

TF

L
$

C7

¥
S
x
(\

 

C
NOISSI2S IY

h
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 20 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 19 of 25

84/34/2082 14:27 2826672574 HOS FASE 92

SLATE §-872
NANCY ERICKSON ThE rae TOL .
i GrCReT AR" ABIAYTO. CRIBS OATES {
S s tah) EER i

OFFICE OF THE SECRETARY?

March 9, 2009

oc

Mr. Wayne E. Matthews \
713 Bonnie Meadow Lace \
Ft. Washington, MD 20744 .

Dear Mr, Matthews:
c
Thank you for your recent Jetter\requesting confirmetior on the status of H.R.

3190 from the 80" Congress.

I asked the Senate Historian’s offi review the correspondence you enclosed,
and they were able to verify that no 2: was taken ty the Senate on H.R. 3790 prior to
the December 19, 1947 sine die adjo I have enclosed relevent.pages from the
House Journal and Congressional Recokd far your reference.

    
  
   

~ \
X S|

O
z Buti? Sw
V onion o V\
< \ >
nf 8
It,
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 21 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 20 of 25

fp

~S

\

oS

2

NX

\
ON

~

\

1

CN

\
\\
Q
"
\
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 22 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 21 of 25

Lornnaine C. MILLER H-154 THE CaPiToL

CLERK
Peeorury Cem @ffice of the Llerk
Rosert F. Reeves 1S. House of Representaithes

Deputy CLERK

Mania A. LOPEZ Washington, BE 20515-6601

TY CLERK

ee 24, 2010

~ Thank you for contacting the Office of the Clerk.

  
 
  
   

  
 
  
 
   
 

 
 
 
   

the Congressional Record in regards to HR
r researching these official proceedings

ur office has conducted research of the House Jour
190 and the voice vote that was taken on May 12, 1
t

he US House of Representatives we have been una
Pores to the voice vote. We have included pag m the House Journal and the Congressional
cord that shows the proceedings of that day as farts the‘quorum is concerned. The text of HR 3190
assed on May 12, 1947 it was debated, engrossed € the motion was laid on the table. HR 3190 wa

ssed by the House and Senate on June 18, 1948 apd became Public Law 80-772 on June 25, 1948. Th
@& House Convened on December 19, 1947 for daily bu the start of a new session of Congress was

January 6, 1948. We hope the provided information aegdecumentation will aid in your research.

Legislative Resource Center . .
Bitice of the Clerk
ws S House of Representatives
Cx

D T/
(“a SP

 

_*
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 23 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 22 of 25

HD 1G 1 OIONY ["
Oe
al SS2SAY
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 24 of 26
Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 23 of 25

LINDO MER TANS

FROM

Harley G, Lappin

shatiey lapping, of Sey
2008 3:17 PM “s

e
i

9

i

 

if

s scsagpee
ail

 

we » Cie rule ic not
Reith, 610 u.

mcr
dal So,
N ve
et ee
h

eal foots

_/ AVA RY 19, 209 CE.

    
  

os
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 25 of 26

Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 24 of 25

rT

Honorable Jud ‘obert E. Blackburn A
United States Digffict Court Colorado
901 19th Street
Denver, CO 80 89
Ref: UNITED OF AMERICA \
* Plaintiff ‘ \
-¥,
RICHARD OGG ARMSTRONG

104

U;

   
  

Defenda .
Subj: MOTION SWER A CERTIFIED QUESTION OF LAW R D TO JURISDICTION IN THIS C AND AN
OFFER OF PRO A / ,
Judge eT
Enclosed is Pati rs Motion as noted above, the filing of whi uauthorized to occur within fourteen d&ys ofMie
November 1, 201T hearing.

Petitioner made every effort to file the subject Motion within the all d time but was inhibited from doing a nERise of the
delays in receipt of that document due to the inadequacies of the BOP mail delivery system.

Qi ge No asks that you accept and all the Ning of the

\

Petitianer has Px gained possession of the document through tte BOP mail system and is mailing to the CBurtyia Priority
Mail, Certified Ss. 0002 7264 9945 as the most expeditious\nethod available to Petitioner.

As this is an ex nally important Motion for Petitioner's de
subject Motion int case.

Thank you for yolassistance and understanding in this matter.

(>

    

/.

Respectfully.

Ydell 2
Richard ‘Kellogg Arms 9,-pro se
Petitioner

J NM

NO
Case 1:10-cr-00317-REB Document 735-1 Filed 01/17/14 USDC Colorado Page 26 of 26
Case 1:10-cr-00317-REB Document 361 Filed 11/18/11 USDC Colorado Page 25 of 25

les CISSION

Micuniek 2. Fed S720N6,
20Y/) 3-2P7F
PE MEAL BATENTION OSNTE
IWIB Lj THOT -A
Gor Quiniey 42,
AIT yA8TON, Go Se/23

bard Nicbleve fam PA

 

OUS2 w= THz Qovils~

Vig, Aierxser- 0 ovrt7— Cslercaso
PO, SGTH SX

Li Boris ; Zo 88 294¢~ 3eg

ANvALy JY, 207Y CE.
